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IN THE UNITED STATES DISTRICT COURT “>” ISEB!

IN AND FOR THE EASTERN DISTRICT OF TEXA$)} MAR 29
MARSHALL DIVISION

 

   
 

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HOLLY WHITE BY

VS.

CiviNo. der OV V 06 8 —

JURY DEMAND

TIGER MISSING LINK FOUNDATION, INC.

D/B/A TIGER CREEK WILDLIFE REFUGE;

BRIAN WERNER, INDIVIDUALLY AND D/B/A
TIGER MISSING LINK FOUNDATION AND/OR
TIGER CREEK WILDLIFE REFUGE; TERRI BLOCK,
INDIVIDUALLY AND D/B/A TIGER MISSING LINK
FOUNDATION AND/OR TIGER CREEK WILDLIFE
FOUNDATION; AND, RON DIXON

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PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Holly White and files this Original Complaint respectfully
showing the following:

I.
PARTIES

1. Plaintiff, Holly White, is a citizen of the state of Pennsylvania residing at 5B
Joann Road, Bartonsville, Pennsylvania.
2. Defendant, Tiger Missing Link Foundation, Inc. d/b/a Tiger Creek Wildlife
Refuge, is an Ohio corporation with its principal place of business located at 17544 FM
Road 14, Tyler, Smith County, Texas 75706. At all times material hereto, Tiger Missing
Link Foundation, Inc. d/b/a Tiger Creek Wildlife Refuge was doing business in the state

of Texas.
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3. Defendant, Brian Werner, Individually and d/b/a Tiger Missing Link
Foundation and/or Tiger Creek Wildlife Refuge, is an individual with his residence
and principal place of business located at 17544 FM Road 14, Tyler, Smith County,
Texas 75706.
4, Defendant, Terri Block, Individually and d/b/a Tiger Missing Link
Foundation and/or Tiger Creek Wildlife Refuge, is an individual with her residence
and principal place of business located at 17544 FM Road 14, Tyler, Smith County,
Texas 75706.
5. Defendant, Ron Dixon, is an individual with his residence and principal place of
business located at 8044 CR 313. Tyler, Smith County, Texas. |
II.
JURISDICTION AND VENUE FACTS
6. As there is complete diversity of citizenship as shown in the preceding
paragraphs, and the matter in controversy exceeds the sum of $75,000.00 exclusive of
interest and costs, this court has jurisdiction pursuant to 28 U.S.C. 1332.
7. Venue is proper pursuant to 28 U.S.C. § 1391(a)(2) as the accident in which Holly
White suffered injuries and damages occurred within the Eastern District of Texas and
thus a substantial part of the events giving rise to this claim occurred in the Eastern
District of Texas.
Il.
NATURE OF THE ACTION
8. On March 31, 1999, Holly White sustained serious personal injuries as a result of

a tiger attack which occurred on the premises of Tiger Missing Link Foundation, Inc.

 
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d/b/a Tiger Creek Wildlife Refuge, located at 17544 FM Road 14, Tyler, Smith County,
Texas 75706.
9. Defendants owned or possessed the tiger which attacked Plaintiff. The tiger was
kept for the purpose of exhibition, breeding, scientific research or personal use. As such,
Defendants are legally responsible for any injuries or damages caused by virtue of their
ownership or possession of this wild animal.
IV.
CAUSES OF ACTION

10. Strict Liability

Since Defendants owned and possessed a wild animal in captivity, they are
strictly liable for any injury caused by the animal.
11. Negligence

Defendants knew or should have known of the dangerous propensities of the
animal and failed to exercise ordinary and due care in their maintenance of the animal in
captivity. Defendants also failed to exercise ordinary care in protecting the public,
including Plaintiff, from injury. Defendants knew that Plaintiff and others would be in
close proximity to the animal and failed to adequately instruct and supervise them
regarding safe interaction with the animal.
12. Negligence Per Se

On the occasion in question, Defendants were guilty of violations of the Animal

Welfare Act, 9 C.F.R., Parts 2 and 3, which violations constitute negligence per se.

 
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13. Premises Liability

Defendants either owned, occupied or controlled the premises where the attack
occurred. Defendants failed to exercise ordinary care to protect Plaintiff from danger in
that they failed to adequately warn Plaintiff and they failed to make the condition of the
premises reasonably safe.

V.
ACTUAL DAMAGES

14. Defendant’s acts or omissions as described above were a producing and/or
proximate cause of the incident in question and Plaintiff's resulting injuries and damages.

Plaintiff would respectfully request that a jury determine the amount of loss she has

sustained.
VI.
GROSS NEGLIGENCE AND EXEMPLARY DAMAGES
15. Defendants are liable for gross negligence. Their conduct involved an extreme

degree of risk, considering the probability and magnitude of the potential harm to others,
including Holly White. Since Defendants had actual subjective awareness of the risk
involved, but nevertheless proceeded with conscious indifference to the rights, safety, and
welfare of others, the Defendants are liable and should be held accountable for exemplary
damages, for which Plaintiff brings suit.
VIL.
JURY DEMAND

16. Plaintiff requests a trial by jury.

 
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Vill.
PREJUDGMENT INTEREST
17. Plaintiff seeks prejudgment interest as allowed by law.
IX.
PRAYER
18. Plaintiff prays that Defendants be cited to appear and answer herein as required
by law and that on final hearing, Plaintiff have judgment against the Defendants for her
actual damages as found by the jury, together with prejudgment and post-judgment
interest as provided by law, costs of suit and for such other and further relief to which

Plaintiff may show herself justly entitled.

Respectfully submitted,
MICHAEL ACEAP.C.
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Michael A¥e
State Bar No. 00828800

By:

 

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